        Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 1 of 10


                                                                              827 Route 82 Suite 10-176
                                                                            Hopewell Junction, NY 12533
                                                                                  Phone: 845-648-3311
                                                                    Website: www.corsiinvestigations.com
                                                                      Email: pi@corsiinvestigations.com

                   THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                                PRIVATE INVESTIGATOR LICENSE #11000213443


   Date:                   March 30, 2021

   To:                     Michael Warshauer, Warshauer Law Group
   From:                   Private Investigator Ray Rivera

   Subject Name:           Gap, Inc.
   Case Number:            21-0307

   Investigation Type:     Civil Case
   Date Assigned:          February 24, 2021


                                       INVESTIGATION SUMMARY

Wednesday, February 24, 2021 an investigation was initiated in regard to a civil matter.

Our objective is to obtain videos and/or photos of standup forklifts with doors at the warehouse of Gap, Inc.
Fishkill Distribution Campus located at 100-110 Merritt Boulevard, Fishkill, NY 12524. Client also requested
that the Agency try to obtain videos of the forklifts being used, try to locate an individual who is/has used
said forklifts, and try to obtain how many forklifts (with doors) are in the facility.




                                       THIS AREA INTENTIONALLY LEFT BLANK




   Warshauer Law Group | 21-0307
   PI License # 11000213443 - Page | 1
                                                                                               EXHIBIT H
    Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 2 of 10


                                                                          827 Route 82 Suite 10-176
                                                                        Hopewell Junction, NY 12533
                                                                              Phone: 845-648-3311
                                                                Website: www.corsiinvestigations.com
                                                                  Email: pi@corsiinvestigations.com

               THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                            PRIVATE INVESTIGATOR LICENSE #11000213443



                       INVESTIGATION SUMMARY CONTINUED


   Client provided Agency the following sample images of forklifts in regard to this investigation:




Warshauer Law Group | 21-0307
PI License # 11000213443 - Page | 2
      Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 3 of 10


                                                                               827 Route 82 Suite 10-176
                                                                             Hopewell Junction, NY 12533
                                                                                   Phone: 845-648-3311
                                                                     Website: www.corsiinvestigations.com
                                                                       Email: pi@corsiinvestigations.com

                 THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                              PRIVATE INVESTIGATOR LICENSE #11000213443



                          INVESTIGATION SUMMARY CONTINUED

During the Investigation, Agency responded to a job posting in which Gap, Inc. was hiring a Lost Prevention
Specialist. Agency applied for the position and was hired. As an employee of Gap, Agency was then able to
enter the facility and gain access to the warehouse whereas it would had not been possible since the
warehouse is not open to the public. Agency obtained photos of the forklifts with doors. All forklifts in the
warehouse had doors. At this location, Gap has (2) two very large warehouses. One warehouse is called NDC
and the other is called ODC, the latter being the larger of the two warehouses. Agency during their
employment was assigned to work at both warehouses. Agency attended an 8-hour orientation on day 1 of
employment. On day 2 of employment, Agency worked at the NDC warehouse and was given a tour of said
warehouse by its’ supervisor. Agency observed (4) four forklifts all having doors. Agency, however, was not
able to tour the entire warehouse, leaving the possibility that there might had been more forklifts. On day 3
of employment, Agency worked at the ODC warehouse (which is the larger warehouse). Agency was able to
inspect this warehouse alone as part of their duties. Agency observed (27) twenty-seven forklifts, all of which
had doors. Photos of said forklifts were taken and provided in this report.

Client requested that Agency obtain the name and contact information of an employee that operates or has
operated said forklifts. Frank Lagrippo (845) 489-6091, is employed by Gap, Inc. as a Loss Prevention
Specialist for the past 7 years. During the investigation, it was learned that in order to operate said forklifts,
you are required to be certified by Gap. Gap provides the class to be certified and that Frank Lagrippo is
certified to operate said forklifts but did say he has not operated the forklifts in a while. Frank did mention
that there are two types of certifications, an 8-hour class for the forklifts that raise the person up and a 4-
hour class for the standup forklifts, Frank has the 8-hour certification. Frank would most likely be the best
contact person for any future inquiries in regard to this case.




                                    THIS AREA INTENTIONALLY LEFT BLANK




 Warshauer Law Group | 21-0307
 PI License # 11000213443 - Page | 3
      Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 4 of 10


                                                                               827 Route 82 Suite 10-176
                                                                             Hopewell Junction, NY 12533
                                                                                   Phone: 845-648-3311
                                                                     Website: www.corsiinvestigations.com
                                                                       Email: pi@corsiinvestigations.com

                 THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                              PRIVATE INVESTIGATOR LICENSE #11000213443



                          INVESTIGATION SUMMARY CONTINUED
             The Agency obtained multiple photos of said forklifts in regard to this investigation.


  NOTE: GPS COORDINATES STAMPED ON PHOTOS ARE ESTIMATES, BUT ALL PHOTOS ARE FROM THE WAREHOUSES OF GAP, INC.
                                       FISHKILL DISTRIBUTION CAMPUS.




Above photos are from still images of video obtained in the NDC Warehouse of Gap, Inc. Fishkill Distribution Campus




 Warshauer Law Group | 21-0307
 PI License # 11000213443 - Page | 4
    Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 5 of 10


                                                                        827 Route 82 Suite 10-176
                                                                      Hopewell Junction, NY 12533
                                                                            Phone: 845-648-3311
                                                              Website: www.corsiinvestigations.com
                                                                Email: pi@corsiinvestigations.com

              THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                           PRIVATE INVESTIGATOR LICENSE #11000213443



                      INVESTIGATION SUMMARY CONTINUED
The below photos were all obtained in the ODC warehouse of the Gap, Inc. Fishkill Distribution Campus.


1                                      2                                 3




4                                      5                                 6




Warshauer Law Group | 21-0307
PI License # 11000213443 - Page | 5
      Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 6 of 10


                                                                          827 Route 82 Suite 10-176
                                                                        Hopewell Junction, NY 12533
                                                                              Phone: 845-648-3311
                                                                Website: www.corsiinvestigations.com
                                                                  Email: pi@corsiinvestigations.com

                   THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                                PRIVATE INVESTIGATOR LICENSE #11000213443



                              INVESTIGATION SUMMARY CONTINUED
The below photos were all obtained in the ODC warehouse of the Gap, Inc. Fishkill Distribution Campus.


 7                                      8,9,10                             11
   THIS TYPE OF FORKLIFT IS
   UNMANNED, NOTE THAT
   THERE ARE NO VENTS




 12                                     13,14,15                            16
 1




Warshauer Law Group | 21-0307
PI License # 11000213443 - Page | 6
     Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 7 of 10


                                                                          827 Route 82 Suite 10-176
                                                                        Hopewell Junction, NY 12533
                                                                              Phone: 845-648-3311
                                                                Website: www.corsiinvestigations.com
                                                                  Email: pi@corsiinvestigations.com

                THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                             PRIVATE INVESTIGATOR LICENSE #11000213443



                        INVESTIGATION SUMMARY CONTINUED
The below photos were all obtained in the ODC warehouse of the Gap, Inc. Fishkill Distribution Campus.


 17                                    18                               19




 20                                    21,22                            23




Warshauer Law Group | 21-0307
PI License # 11000213443 - Page | 7
     Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 8 of 10


                                                                          827 Route 82 Suite 10-176
                                                                        Hopewell Junction, NY 12533
                                                                              Phone: 845-648-3311
                                                                Website: www.corsiinvestigations.com
                                                                  Email: pi@corsiinvestigations.com

                THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                             PRIVATE INVESTIGATOR LICENSE #11000213443



                        INVESTIGATION SUMMARY CONTINUED
The below photos were all obtained in the ODC warehouse of the Gap, Inc. Fishkill Distribution Campus.


24                                                      25




26                                                      27




Warshauer Law Group | 21-0307
PI License # 11000213443 - Page | 8
     Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 9 of 10


                                                                       827 Route 82 Suite 10-176
                                                                     Hopewell Junction, NY 12533
                                                                           Phone: 845-648-3311
                                                             Website: www.corsiinvestigations.com
                                                               Email: pi@corsiinvestigations.com

               THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                            PRIVATE INVESTIGATOR LICENSE #11000213443



                       INVESTIGATION SUMMARY CONTINUED


Below is a Google area view of the Gap Distribution Center. For your reference, the warehouses ODC and
NDC have been marked.




              NDC                                            ODC




Warshauer Law Group | 21-0307
PI License # 11000213443 - Page | 9
     Case 1:22-mi-00036-CAP-LTW Document 1-10 Filed 05/31/22 Page 10 of 10


                                                                              827 Route 82 Suite 10-176
                                                                            Hopewell Junction, NY 12533
                                                                                  Phone: 845-648-3311
                                                                    Website: www.corsiinvestigations.com
                                                                      Email: pi@corsiinvestigations.com

                  THIS BUSINESS IS LICENSED BY THE NEW YORK STATE DEPARTMENT OF STATE
                               PRIVATE INVESTIGATOR LICENSE #11000213443



                                INVESTIGATION RECOMENDATIONS
 Agency was tasked to obtain videos and/or photos of the standup forklifts with doors at the warehouse of
 Gap, Inc. Fishkill Distribution Campus located at 100-110 Merritt Boulevard, Fishkill, NY 12524 and provide
 how many forklifts with doors are in the facility. In addition, Agency was tasked to provide a name of an
 employee that has operated the forklifts at Gap. Based on the information obtained, the Agency has met
 its task and has concluded that all currently available resources have been exhausted. This case is now
 considered complete. Should the Client obtain additional information in regard to this case, it is
 suggested that the Client contact Corsi Investigations LLC for a follow up and to determine if a new
 investigation is warranted.




 End of Investigative Report



This report is confidential and is intended solely for the use of the client to whom it is addressed.

The information contained in this report has been obtained through different public records and online
resources. These resources are not always accurate or complete. Please understand that public record
providers can have incorrect information, misfiled reports or cases, and not be maintained on the daily basis.
Also, please understand that there may be more than one person with the same name as the person involved
in this report. Consequently, Corsi Investigations LLC, cannot and does not guarantee that this information is
without errors. Additional identification is required to ensure that this information is accurate therefore, we
do not accept liabilities which can arise from the use of this information. By accepting this report, you accept
that you will use this information with strict compliance of any local, state, and federal laws and any other
local, state, or federal regulations.




 Submitted by
 Ray Rivera, Private Investigator
 Licensed in New York & New Jersey




 Warshauer Law Group | 21-0307
 PI License # 11000213443 - Page | 10
